                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Rare Beauty, LLC                              )
                                              )
                Plaintiff,                    )
                                              ) Civil Action No. 22-cv-00533
        v.                                    ) Judge Charles R. Norgle
                                              )
RareBeauty Cosmetics LLC                      )
                                              )
        Defendant.


 DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION UNDER
          RULE 12 TO DISMISS OR TRANSFER AND TO STRIKE


                                        INTRODUCTION

1.      RareBeauty Cosmetics LLC (Defendant) brings this memorandum of law in support of

the motion to dismiss or transfer Civil Action No. 22-cv-00533 brought by Rare Beauty, LLC

(Plaintiff), and to strike.

2.      Defendant respectfully requests the dismissal or transfer of the case to the Northern

District of Georgia under Rules 12(b)(2) and 12(b)(3) of the Federal Rules of Civil Procedure

because the Defendant should not be subject to personal jurisdiction or venue in the Northern

District of Illinois. Defendant is a limited liability company with a principal place of business in

Georgia, was recently reincorporated in Georgia, and the facts of the case relied on for bringing

the cause of action for a declaratory judgment occurred in Georgia. Transfer of the case to the

Northern District of Georgia also furthers the interests of justice, reduces overall costs, and does

not prejudice the Plaintiff. Furthermore, Plaintiff had actual knowledge of the location of
Defendant and has made statements indicating an intent to force a settlement because Defendant

does not have resources to pursue litigation.

3.      Defendant also respectfully requests the dismissal of the case for failure to join a required

party under Rule 19 of the Federal Rules of Civil Procedure. KeSheena Heard began use of the

RAREBEAUTY mark in commerce at least as early as April of 2017, prior to the incorporation

of Defendant, including sales in interstate commerce. Ms. Heard retains an ownership interest in

the RAREBEAUTY mark. Plaintiff has also alleged facts against Ms. Heard in its complaint, yet

has failed to join her as a party to this litigation.

4.      Finally, Defendant also respectfully requests the court strike statements from Plaintiff’s

complaint referring to proposed amounts for settlement of the dispute and KeSheena Heard’s

financial position. These statements are not necessary to show subject matter jurisdiction, do not

have any probative value regarding the trademark dispute between the parties, and are likely to

cause undue prejudice against the Defendant.



                                           BACKGROUND

5.      Defendant is a limited liability company with a principal place of business at 1 Glenlake

Parkway NE, Suite 650, Atlanta, GA 30328. Heard Aff. ¶ 13; Def.’s Ex. B, C.

6.      Defendant was recently re-incorporated in the state of Georgia as a Georgia limited

liability company. Heard Aff. ¶ 13.

7.      Defendant has been operating in Georgia since April of 2021 and was operating in

Atlanta during the filing of the trademark cancellation proceeding and during settlement

negotiations with Plaintiff. Defendant filed the cancellation proceeding from the state of Georgia




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and has communicated with Plaintiff from the state of Georgia. Heard Aff. ¶¶ 11, 13; Def.’s Ex.

B, C.

8.      Plaintiff had actual knowledge of Defendant’s principal place of business from

communication with Defendant, cancellation filings, and social media information. Heard Aff.

¶¶ 3, 6; Def.’s Ex. A, B, C.

9.      The alleged actions that give rise to Plaintiff’s cause of action for declaratory judgment

took place in the state of Georgia, including the filing of the cancellation proceeding and

settlement negotiations. Heard Aff. ¶¶ 11, 13; Def.’s Ex. B, C.

10.     Plaintiff has made statements indicating an intent to force a settlement because of

Defendant’s lack of resources to carry out expensive litigation. Heard Aff. ¶ 5.

11.     Litigation in the Northern District of Illinois would cause financial hardship on

Defendant and significantly impair Defendant’s ability to effectively litigate this dispute. Heard

Aff. ¶ 7.

12.     Plaintiff has also alleged facts in its complaint indicating knowledge of a vast difference

in resources between Plaintiff and Defendant. Pl.’s Complaint ¶¶ 11, 24.

13.     The Northern District of Illinois has a significantly larger backlog of civil cases than the

Northern District of Georgia with 9,963 pending civil cases compared to 7,825 pending civil

cases, respectively. Table C-1-U.S. District Courts-Civil Statistical Tables for the Federal

Judiciary, (December 31, 2021), https://www.uscourts.gov/statistics/table/c-1/statistical-tables-

federal-judiciary/2021/12/31.




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                                           ARGUMENT

I.       DISMISSAL FOR LACK OF PERSONAL JURISDICTION.

14.      A court may exercise general jurisdiction over a defendant whose affiliations with the

forum state are so “continuous and systematic” as to render the defendant essentially “at home”

in the forum. Daimler AG v. Bauman, 134 S.Ct. 746, 761 (2014). A corporation is at home in

the forum state when it is incorporated or has its principal place of business there. Bauman, 134

S.Ct. 746, 761-2.

15.      Plaintiff relies on an out-of-date corporate registration of Defendant from May of 2018 to

establish personal jurisdiction before the Court. Pl.’s Complaint ¶ 21. However, Defendant has

been operating at a principal place of business located at 1 Glenlake Parkway NE, Suite 650,

Atlanta, GA 30328 since before the institution of any dispute between the parties before this

Court or another tribunal. Heard Aff. ¶ 13; Def.’s Ex. B, C. Defendant was also recently re-

incorporated in the state of Georgia to reflect these changes. Heard Aff. ¶ 13. Defendant is no

longer “at home” within the state of Illinois, has not been since before the institution of any

controversy or dispute between the parties, and should not be subject to general jurisdiction

there.

16.      A court may also exercise specific jurisdiction over a defendant when the lawsuit arises

out of or is related to the defendant’s contacts with the forum state. Walden v. Fiore, 134 S.Ct.

1115, 1122 (2014). In the present case, Plaintiff alleges a controversy arising out of the

institution of a cancellation proceeding and settlement negotiations between the parties. These

actions all commenced after the relocation of Defendant to the state of Georgia. Plaintiff also

had actual knowledge of the Defendant’s relocation to Georgia from multiple sources. Plaintiff

was made aware of Defendant’s relocation during an initial phone call with Plaintiff’s Chief



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Digital Officer. Heard Aff. ¶ 6. Plaintiff was also aware of Defendant’s relocation from

paperwork filed and served on Plaintiff in conjunction with the cancellation proceeding before

the Trademark Trial and Appeal Board. Def. Ex. B, C. Because the actions that allegedly gave

rise to the cause of action for a declaratory judgment occurred when the Defendant was in

Georgia, the Defendant should not be subject to specific jurisdiction before the Court, and the

cause of action should be dismissed.



II.     DISMISSAL OR TRANSFER FOR IMPROPER OR INCONVENIENT VENUE.

17.     Pursuant to 28 U.S.C. § 1391(b), a plaintiff may generally bring a civil action in a

judicial district where any defendant resides, if all defendants reside in the state where the district

is located, where a substantial part of the events or omissions giving rise to the claim occurred, a

substantial part of the property that is the subject of the action is situated, or any defendant is

subject to the court’s personal jurisdiction with respect to the action if there is no other district

where the plaintiff may otherwise bring the action. The residence of an incorporated or

unincorporated entity defendant where it is subject to the court’s personal jurisdiction. 28 U.S.C.

§ 1391(c)(2).

18.     Defendant reiterates arguments from Section I above that it is not subject to personal

jurisdiction before the Court. If personal jurisdiction before the Court is improper, then venue is

similarly improper. Furthermore, the property at issue, a trademark, is not tied to or connected

with any particular geographic location, and the events that give rise to this dispute occurred in

Georgia. The court may then dismiss the case or, in the alternative, transfer the case to a more

proper venue, such as the Northern District of Georgiaa under 28 U.S.C. 1406(a).




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19.    Even if Defendant is subject to personal jurisdiction and venue before the Court, the

Court may still transfer a civil action to any other district or division where it might have been

brought for the convenience of the parties and witnesses pursuant to 28 U.S.C § 1404(a). The

Northern District of Georgia is a forum where venue could have been originally laid, offers a far

more convenient forum for the Defendant, does not increase any burden on the Plaintiff, and

provides adequate remedies to both parties with a likelihood of a faster resolution to the case.

20.    In Research Automation, Inc. v. Schrader-Bridgeport Int’l, Inc., the Seventh Circuit

Court of Appeals laid out two broad categories of factors a court may consider when evaluating a

transfer. Research Automation, Inc. v. Schrader-Bridgeport Int’l, Inc., 626 F.3d 973, 978 (7th

Cir. 2010). The first category is convenience, which generally considers the availability of and

access to witnesses, each party’s access to and distance from resources in each forum, the

location of material events, and the relative ease of access to sources of proof. Id..

21.    Evaluating these factors in the present case, Defendant is a limited liability corporation

with a principal place of business in the state of Georgia, and that was recently re-incorporated in

Georgia. Heard Aff. ¶ 13. Plaintiff is a limited liability company organized under the laws of

Delaware and with a principal place of business in California. Pl.’s Complaint ¶ 2. Neither

Plaintiff nor Defendant has any operations, workers, or likely witnesses located within the

Northern District of Illinois, or the state of Illinois. However, KeSheena Heard, a likely witness

for the Defendant, is located within the Northern District of Georgia. Plaintiff’s witnesses are

also not likely to be located within the Northern District of Illinois as neither party to the case

currently carries out major business operations within the state of Illinois. The location of

material events also does not favor placing venue within the Northern District of Illinois. The

events in dispute regarding ownership of trademarks do not have a firm location, as they involve



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sales, advertising, and other activities that are present mainly online. The actions that have been

alleged to support a request for declaratory judgment, including the filing of a trademark

cancellation proceeding and settlement negotiations between the parties, occurred when neither

party was located within the Northern District of Illinois. Finally, each party’s access to and

distance from resources in each forum show the Northern District of Georgia to be more

convenient for the parties than the Northern District of Illinois. The Northern District of Georgia

is not significantly farther or more burdensome for the Plaintiff, but is significantly more

convenient for the Defendant. While the Plaintiff may have to travel to the Northern District of

Georgia, Plaintiff has already evidenced a willingness to travel as it is not situated within the

Northern District of Illinois, either. Travel from California or Delaware to the Northern District

of Georgia is not likely to be more burdensome, costly, or difficult than travel to the Northern

District of Illinois for the Plaintiff.

22.     The second group of factors involve the interests of justice and include docket congestion

and likely speed to trial between the transferor and transferee forums, each court’s relative

familiarity with the relevant law, the respective desirability of resolving controversies in each

locale, and the relationship of each community to the controversy. Id.

23.     The Northern District of Georgia has a significantly lighter docket load than the Northern

District of Illinois with 7,825 pending civil actions compared to 9,963 pending civil actions,

respectively. Table C-1-U.S. District Courts-Civil Statistical Tables for the Federal Judiciary,

(December 31, 2021), https://www.uscourts.gov/statistics/table/c-1/statistical-tables-federal-

judiciary/2021/12/31. The Northern District of Georgia may offer the parties a faster resolution

or movement to trial, reducing costs and burden on both parties. Both courts are competent to

adjudicate a federal question, and there are no questions of state law which would favor either



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forum as the case deals exclusively with federal trademark law. The Northern District of

Georgia offers a more desirable location for resolving the forum, and has a closer connection

between the community and the controversy as at least one of the parties is a corporation located

within the District.

24.    Furthermore, venue and jurisdiction may have originally been laid within the Northern

District of Georgia as the Defendant has its principal place of business there and is subject to

personal jurisdiction. The Northern District of Georgia is a court that is competent to adjudicate

any federal question, can provide any and all remedies of the Northern District of Illinois, and

there are no questions of state law in which either forum would have greater experience.

25.    A court may also evaluate equitable factors regarding a transfer of venue, as the statute is

broad enough to allow the court to take in all factors relevant to convenience and the interests of

justice. Id at 977-8. In the instant case, Plaintiff has made statements to Defendant that the

Defendant should settle the matter because the Defendant does not have resources to litigate the

trademark dispute. Heard Aff. ¶ 5. Plaintiff also alleged in its complaint that it has been

enormously successful with millions in sales, Pl.’s Complaint ¶ 11, and alleged limited financial

resources of the Defendant’s owner, KeSheena Heard, Pl.’s Complaint ¶ 24. Plaintiff is well

aware of Defendant’s location and that laying venue within the Northern District of Illinois

would increase costs for Defendant in an effort to force a settlement. Heard Aff. ¶ 5. In the

interests of justice and equity, Plaintiff should not be permitted misuse of the venue statute to

attempt to force a smaller litigant into a settlement by increasing the costs of litigation.

26.    In summary, the Court should transfer the case to the Northern District of Georgia

pursuant to 28 U.S.C. §1404(a). Venue may have been originally laid in the Northern District of

Georgia, and it offers an adequate forum to adjudicate the dispute between the parties with no



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questions of state law. Transfer to the Northern District of Georgia also will not increase the

inconvenience to the Plaintiff while significantly increasing the convenience for the Defendant

and prevents laying venue in a district court where none of the parties, likely witnesses, or

evidence are currently present.



III.   DISMISSAL FOR FAILURE TO JOIN A REQUIRED PARTY.

27.    Rule 12(b)(7) of the Federal Rules of Civil Procedure provides a defense for the failure of

a plaintiff to join a party to litigation required by Rule 19 of the Federal Rules of Civil

Procedure. A party with an interest relating to the subject of the action and whose exclusion

would impair their ability to protect that interest is a required party under Rule 19. FRCP

19(a)(1)(B)(i).

28.    KeSheena Heard began selling cosmetics in interstate commerce and acquiring rights

under the RAREBEAUTY trademark at least as early as April of 2017. Heard Aff. ¶ 12. Ms.

Heard’s claim of priority and trademark ownersihp extends earlier than the incorporation date of

RareBeauty Cosmetics LLC in May of 2018. Pl.’s Complaint ¶ 21. Ms. Heard, the original

owner of the RAREBEAUTY mark, retains an ownership interest in the RAREBEAUTY

trademark and should have been joined to the case. As such, Ms. Heard has an interest relating

to the subject of this action, in particular the ownership and extent of trademark rights in the

RAREBEAUTY mark, and should have been joined under Rule 19. The Court should dismiss

the action under Rule 12(b)(7) for failure to join a required party under Rule 19.




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IV.    STRIKE PARAGRAPHS 1, 7, 24, AND 39 FROM PLAINTIFF’S COMPLAINT.

29.    Federal Rule of Civil Procedure 12(f)(2) provides that a court may strike any redundant,

immaterial, impertinent, or scandalous matter.

30.    Plaintiff alleges in its complaint a specific monetary figure allegedly proposed during

settlement negotiations between the parties in paragraphs 1, 7, and 39. Pl.’s Complaint ¶¶ 1, 7,

39. This material is irrelevant to the dispute before the Court and provides no probative value as

to any question of infringement, confusion, or any other matter related to the trademark dispute,

and is unnecessary to show a controversy between the parties. The allegedly proposed

settlement offer may also prejudice Defendant before the Court or a finder of fact and limit

recovery because of such prejudice. Furthermore, the alleged settlement offer amount is not

necessary for subject matter jurisdiction (as it may be in the case of diversity jurisdiction) in

federal court as Plaintiff has asserted subject matter jurisdiction under 28 U.S.C. § 1331 for

federal questions and 28 U.S.C. § 1338 for original jurisdiction for trademark claims. The

existence of an alleged dispute between the parties arising out of the filing of a trademark

cancellation proceeding is also not predicated on any amount that may or may not be at issue,

particularly as the cancellation proceeding filed by Defendant before the Trademark Trial and

Appeal Board may not award any monetary damages. As such, paragraphs 1, 7, and 39 of

Plaintiff’s complaint should be struck from the record as irrelevant, immaterial, and prejudicial

to Defendant.

31.    Plaintiff also alleges in its complaint information about Ms. Heard’s personal financial

status and a prior alleged bankruptcy in paragraph 24. Pl.’s Complaint ¶ 24. Plaintiff asserts no

information that indicates Ms. Heard’s personal financial status is at issue or of material value to

trademark ownership, infringement or other issues in the case. As such, paragraph 24 of



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Plaintiff’s complaint is immaterial to the dispute. This information may also prejudice the

Defendant before the Court or a finder of fact, while offering no probative value regarding the

trademark dispute. For these reasons, the Court should also strike paragraph 24 of Plaintiff’s

complaint.



                                         CONCLUSION

32.    For the foregoing reasons, Defendant respectfully requests that the Court grant

Defendant’s Motion Under Rule 12 to Dismiss or Transfer and to Strike and dismiss the case for

lack of personal jurisdiction, improper venue, and failure to join a required party under Rule 19,

or, in the alternative, to transfer the case to the Northern District of Georgia. Defendant also

respectfully requests that the Court strike paragraphs 1, 7, 24, and 39 from Plaintiff’s Complaint

filed on January 29, 2022.




Dated: May 4, 2022                                    Respectfully Submitted:

                                                      FOR DEFENDANT
                                                      RAREBEAUTY COSMETICS LLC

                                                      /s/ Michael Cirino__________
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